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                 UNITED STATES COURT OF INTERNATIONAL TRADE

________________________________________________
                                                )
INDUSTRIAL PESQUERA SANTA PRISCILA S.A. and )
SOCIEDAD NACIONAL DE GALAPAGOS C.A.,            )
                                                )
                        Plaintiffs,             )
                                                )
                        v.                      )                    Court No. 25-00029
                                                )
UNITED STATES,                                  )
                                                )
                        Defendant.              )
                                                )
________________________________________________)

                                          COMPLAINT

       Plaintiffs, Industrial Pesquera Santa Priscila S.A. (“Santa Priscila”) and Sociedad

Nacional De Galápagos, C.A. (“SONGA”) (collectively the “Ecuadorian Respondents”), hereby

bring this action by and through their attorneys, and allege and state the following:

               ADMINISTRATIVE DETERMINATION TO BE REVIEWED

       1.      Plaintiffs bring this Complaint to contest certain aspects of the final affirmative

material injury determination of the United States International Trade Commission

(“Commission”) in its countervailing duty investigation of frozen warmwater shrimp from

Ecuador, India, Indonesia, and Vietnam. See Frozen Warmwater Shrimp From Ecuador, India,

Indonesia, and Vietnam, 89 Fed. Reg. 102,163 (Dec. 17, 2024) (“Final Det. Notice”). The basis

for the Commission’s final determination is contained in Frozen Warmwater Shrimp from

Ecuador, India, Indonesia, and Vietnam, Inv. Nos. 701-TA-699-700 and 702 and 731-TA-1660

(Final), USITC Pub. No. 5566 (December 2024) (“Final Determination”).




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                                      THE PARTIES

         2.    Plaintiffs are producers and exporters of frozen warmwater shrimp from Ecuador

that participated fully in the Commission’s investigation.

         3.    Defendant is the United States, acting by and through the United States

International Trade Commission.

                                      JURISDICTION

         4.    The Court has jurisdiction over this action under 28 U.S.C. § 1581(c) because this

action was commenced under 19 U.S.C. §§ 1516a(a)(2)(A)(i)(II) and 1516a(a)(2)(B)(i).

                                      STANDING

         5.    As foreign producers and exporters of the subject merchandise that fully

participated in the Commission’s investigation, the Plaintiffs constitute interested parties under

19 U.S.C. § 1677(9)(A) and 19 U.S.C. § 1516a(f)(3). They have standing to commence this

action under 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).

                              TIMELINESS OF ACTION

         6.    Plaintiffs commenced this action by filing a Summons on January 24, 2025,

which was within 30 days after the Department of Commerce published its countervailing duty

order. See Frozen Warmwater Shrimp from Ecuador, India, and the Socialist Republic of

Vietnam: Countervailing Duty Orders, 89 Fed, Reg, 104,982 (Dec. 26, 2024). Accordingly, this

action is timely filed under 19 U.S.C. § 1516a(a)(2)(A)(i)(II) and Rules 3(a)(2) and 6(a) of this

Court.

                  HISTORY OF THE ADMINISTRATIVE PROCEEDING

         7.    Following receipt of a petition filed by the American Shrimp Processors

Association (“ASPA”) with the Commission and the Department of Commerce on October 25,



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2023, the Commission published its notice of institution of investigations for frozen warmwater

shrimp from Ecuador, India, Indonesia, and Vietnam on October 31, 2023. See Frozen

Warmwater Shrimp from Ecuador, India, Indonesia, and Vietnam; Institution of Antidumping and

Countervailing Duty Investigations and Scheduling of Preliminary Phase Investigations, 88 Fed.

Reg. 74,511, Oct 31, 2023.

       8.        On November 15, 2023, the Commission held its preliminary phase staff

conference via videoconference and submissions of written testimony. The Ecuadorian

Respondents, joined by the Seafood Exporters Association of India, submitted their Post-

Conference Brief on November 20, 2023.

       9.        In that Brief, the Ecuadorian Respondents claimed, among other things, that

“{d}iesel fuel price increases could constitute the sole or primary cause of any decline in

shrimper profitability.”1 Post-Conf. Br. at 9. The Ecuadorian Respondents then described the

undisputed no. 2 diesel fuel price increases that shrimpers had incurred since the start of the

preliminary phase period of investigation, which rose from $3.079 per gallon in January 2020 to

over $5.00 per gallon in seven months of 2022. Id. at 9-10 and attached Exhibit 2. Then, the

Ecuadorian Respondents provided a hypothetical example, based on a shrimper’s testimony at a

sunset review hearing held earlier in 2023 that, due to the fuel cost increases, “that shrimper

would today have to pay an extra $50,000 for every {fishing} trip that he took.” Id. at 10.

       10.       The Ecuadorian Respondents further stated that “{t}his type of information {(i.e.,

information concerning fuel cost increases)}, would have allowed the Commission to calculate

the extra fuel expense that a shrimper would have incurred on an average trip during the POI.”

Id. The Ecuadorian Respondents also stated that:



       1
           The term “shrimper” is the commonly used term for shrimp fishermen.
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       the record fails to investigate the impact on . . . shrimper profitability with respect
       to concededly higher fuel costs. . . . It was not enough to simply ask . . . shrimpers
       if they have been affected by these significant economic factors. It could well be
       that, if they had been required to quantify their impact, the conclusion would be
       that subject imports had an insignificant impact on profitability compared to all
       the other headwinds that the domestic industry has faced.

Id. at 14. Thus, the preliminary phase record contains no evidence concerning the impact of

diesel fuel price increases on shrimper profitability.

       11.     On December 14, 2023, the Commission published the notice of its affirmative

preliminary determination. See Frozen Warmwater Shrimp From Ecuador India, Indonesia and

Vietnam, 88 Fed. Reg. 86,677; see also Frozen Warmwater Shrimp from Ecuador, India,

Indonesia, and Vietnam, Inv. Nos. 701-TA-699-702 and 731-TA-1659-1660 (Preliminary),

USITC Pub. No. 5482 (December 2023). In the notice of its preliminary determination, the

Commission found, among other things, “a reasonable indication that an industry in the United

States is materially injured by reason of imports of . . . imports of the subject merchandise from

Ecuador, India, Indonesia, and Vietnam that are alleged to be subsidized by the governments of

Ecuador, India, Indonesia, and Vietnam.” 88 Fed. Reg. at 86,677.

       12.     The Commission’s preliminary determination did not address the request of the

Ecuadorian Respondents that the Commission investigate the specific impact of diesel fuel

increases on each shrimper.

       13.     On January 26, 2024, the Commission transmitted draft final phase questionnaires

to the parties and requested comment. See Letter from Nannette Christ, Director, United States

International Trade Commission. Included in this draft at question no. III-1 was a financial

statement that required each shrimper to report its total “fuel and oil” operating expenses for

each of the five periods comprising the period of investigation.




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       14.     The Ecuadorian Respondents timely filed their comments on the draft

questionnaires on March 4, 2024. See Ecuadorian Respondents’ Comments on Draft Final Phase

Questionnaires. To this financial statement, the Ecuadorian Respondents requested that each

responding shrimp fisherman be asked to provide the “Number of gallons of fuel and oil

purchased” during each of the five periods comprising the Commission’s “period of

investigation.” The purpose of this question was to allow the Commission and all Respondents

to determine “the extent to which the enormous increase in diesel fuel prices during the POI

caused shrimp fishermen to incur material injury and reduced days at sea.” Ecuadorian

Respondents’ Comments at 9. This information was readily available to every shrimper, and,

therefore, did not impose any additional reporting burden. Nevertheless, the Commission denied

this simple request without explanation.

       15.     The parties filed Prehearing Briefs on October 15, 2024. The Ecuadorian

Respondents contended in their brief that the Commission had unlawfully failed to ask shrimp

fishermen to report the volume of diesel fuel that they purchased during the period of

investigation. Moreover, had the Commission done so, it would have obtained evidence that

confirmed that the diesel fuel cost increases that shrimp fishermen incurred in both 2022 and

2023 were solely responsible for deterioration in their financial condition that they incurred in

those two years compared to 2021, when they were highly profitable. Preh. Hearing Br. at 5-10.

       16.     Shrimp fishermen constitute a significant portion of the entire domestic industry.

The Commission received 388 usable questionnaire responses from shrimpers. However,

without requesting information evidence from each shrimper concerning the impact of diesel fuel

cost increases on its financial condition, the Commission, as a matter of law, could not find that

the domestic industry, “as a whole” had suffered material injury from unfairly traded imports, as



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required by 19 U.S.C. § 1677(4)(A). Preh. Hearing Br. at 10. The Commission’s Final

Determination did not challenge the accuracy of the Ecuadorian Respondents’ contention that the

Commission could not reach an affirmative final determination without first finding that the

shrimp fishermen segment of the domestic industry had suffered material injury during the POI.

       17.     The Commission held a hearing on October 22, 2024, and Post-Hearing Briefs

were filed on October 29, 2024. The Ecuadorian Respondents once again contended that any

injury suffered by shrimp fishermen was solely due to the 55% increase in the cost of diesel fuel

between 2021 and 2022 and the 29% fuel cost increase between 2021 and 2023.

       18.     However, lacking the evidence that the Commission had a legal obligation to

obtain from the shrimpers, the Ecuadorian Respondents nevertheless submitted an analysis in

their Post-Hearing Brief (at 1-4) that demonstrated, among other things, that:

       even if domestic shrimp fishermen had replicated both their revenues and
       expenses in 2022 that they reported in 2021, the 55% increase in the diesel fuel
       cost would have turned a significant operating profit into an even more substantial
       operating loss. In other words, it is the diesel fuel cost increase that solely
       generates this operating loss because we have held constant in 2022 the very
       profitable operating results that they reported for 2021.

Ecuadorian Respondents provided the same analysis for 2023 versus 2021. Id. at 2. The

Commission did not address these allegations in its final determination. Nor did it obtain any

diesel fuel-related information from shrimpers for the last three months of the POI, which was

January-March 2024.

       19.     The Commission could not reach an affirmative final material injury

determination because, without evidence that the shrimp fishermen segment of the domestic

industry had been materially injured, the Commission could not, as a matter of law, find that the

domestic industry “as a whole” had been materially injured.




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       20.     The basis for the Commission’s final determination is contained in the Final

Determination. The Commission rejected the Ecuadorian Respondents’ request for one line item

to be added to the financial statement contained in the Shrimp Fishermens’ questionnaire on the

ground that “the Commission collected sufficient data to analyze the issue.” Id. at 88.

Moreover, “Ecuadorian Respondents were able to present their principal argument on their

posthearing brief regarding diesel fuel costs based on the record data that the Commission

presented in the prehearing report.” Id. These findings lacked substantial evidentiary support

and were contrary to law.

                                  STATEMENT OF CLAIMS

                                           COUNT 1

       21.     Plaintiffs hereby reallege and incorporate paragraphs 1 through 20.

       22.     The Commission’s finding that the domestic industry was materially injured by

reason of subsidized subject imports from Ecuador was not supported by substantial evidence

and was otherwise not in accordance with law.

                                           COUNT 2

       23.     Plaintiffs hereby reallege and incorporate paragraphs 1 through 22.

       24.     The Commission’s finding that diesel fuel cost increases were not the sole cause

of any injury suffered by shrimp fishermen was not supported by substantial evidence and was

otherwise not in accordance with law.

                                                COUNT 3

       25.     Plaintiffs hereby reallege and incorporate paragraphs 1 through 24.

       26.     The Commission’s failure to address the Plaintiffs’ evidence showing that diesel

fuel cost increases were the sole cause of any injury suffered by shrimp fishermen rendered the



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Commission’s causation finding that the shrimp industry in the United States was materially

injured “by reason of” subject imports and the subsidiary findings on which this conclusion

rested were not supported by substantial evidence and otherwise not in accordance with law.

                        REQUEST FOR JUDGMENT AND RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that the Court:

       1) Hold that the Commission’s Final Determination in the material injury investigation

           of frozen warmwater shrimp from Ecuador, India, Indonesia, and Vietnam was not

           supported by substantial evidence and was not otherwise in accordance with law; and

       2) Remand the Final Determination to the Commission for disposition in accordance

           with the Court’s opinion; and

       3) Grant such other relief as the Court may deem just and proper.

                                                    Respectfully submitted,

                                                    /s/ Warren E. Connelly
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                                                    Kenneth N. Hammer

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                                                    De Galapagos C.A.

Dated: February 18, 2025




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